            Case 1:07-cv-00206-EJL Document 8 Filed 06/06/07 Page 1 of 4




                          IN THE UNITED STATES DISTRICT COURT


                                 FOR THE DISTRICT OF IDAHO



ROBERT CHARTERS and                 )
PHYLLIS CHARTERS,                   )
                                    )               Case No. CV07-206-S-EJL
                  Plaintiffs,       )
                                    )
v.                                  )               ORDER
                                    )
PRUDENTIAL PROPERTY and             )
CASUALTY INSURANCE CO., et al,      )
                                    )
                  Defendants.       )
____________________________________)

        Pursuant to 28 U.S.C. §§ 1441 and 1446, the Defendants recently removed this action

from state court and invoked this Court’s jurisdiction on diversity grounds under 28 U.S.C.

§ 1332. The “burden of establishing federal jurisdiction is on the party seeking removal, and

the removal statute is strictly construed against removal jurisdiction.” Prize Frize, Inc. v.

Matrix Inc., 167 F.3d 1261, 1265 (9th Cir. 1999). Any doubt as to the right of removal is

resolved in favor of remand.1 Gaus v. Miles, Inc., 980 F.2d 564, 566 (9th Cir. 1992).


        1
                 This Court must sua sponte review all removed actions to confirm that federal
jurisdiction is proper. Sparta Surgical Corp. v. Nat'l Ass'n. Sec. Dealers, Inc., 159 F.3d 1209, 1211
(9th Cir.1998) ( “If a district court lacks subject matter jurisdiction over a removed action, it has the
duty to remand it . . . .”); Snell v. Cleveland, Inc., 316 F.3d 822, 824, 826 (9th Cir. 2002) (explaining
that a “court may raise the question of subject matter jurisdiction, sua sponte, at any time”).

ORDER- 1
           Case 1:07-cv-00206-EJL Document 8 Filed 06/06/07 Page 2 of 4




       Where, as here, the complaint filed in state court does not specify damages in excess

of the required federal jurisdictional limit, “it is not facially evident from the complaint that

the controversy involves more than $75,000.” Matheson v. Progressive Specialty Ins. Co., 319

F.3d 1089, 1091 (9th Cir. 2003); Valdez v. Allstate Ins. Co., 372 F.3d 1115, 1116 (9th Cir.

2004). Accordingly, the removing defendant must set forth “in the removal petition itself, the

underlying facts supporting its assertion that the amount in controversy exceeds [$75,000].”

Gaus, 980 F.2d at 567 (emphasis in original); see also Wilson v. Union Security Life Ins. Co.,

250 F. Supp. 2d 1260, 1261-63 (D. Idaho 2003).

       In this instance, the Defendants have failed to make the necessary showing. In the

Notice of Removal, the Defendants allege that the “matter in controversy including possible

punitive damages and attorney’s fees exceeds $75,000; and that similar cases resulting in

judgments to Plaintiffs regularly exceed $75,000.” (Notice of Removal at 2). Defendants,

however, “offered no facts whatsoever to support the court’s exercise of jurisdiction.” Gaus,

980 F.2d at 567. The mere allegation of a jurisdictional minimum “neither overcomes the

‘strong presumption’ against removal jurisdiction, nor satisfies [Defendants’] burden of

setting forth, in the removal petition itself, the underlying facts supporting its assertion that

the amount in controversy exceeds $[75,000].” Id.; see also Sanchez v. Monumental Life Ins.

Co., 102 F.3d 398, 404 n.5 (9th Cir. 1996).




ORDER- 2
            Case 1:07-cv-00206-EJL Document 8 Filed 06/06/07 Page 3 of 4



       Specifically, “where, as here, the Defendant relies on the damages that might flow from

the Plaintiffs’ causes of action, it must provide evidence that would permit a reasoned

calculation of those damages.” Wilson, 250 F. Supp. 2d at 1265 (collecting cases). Similarly,

Defendants “must do more than merely point to Plaintiffs' request for attorney's fees; upon

removal it must demonstrate the probable amount of attorney's fees in this case.”2 Id. at 1264

(collecting cases). Finally, “it is not enough to tell the Court that Plaintiffs seek punitive

damages, Defendant must come forward with evidence showing the likely award if Plaintiffs

were to succeed in obtaining punitive damages.”3 Id. at 1264-65 (collecting cases).

       Because removal jurisdiction “cannot be based simply upon conclusory allegations,”

this case will be remanded to state court pursuant to 28 U.S.C. § 1447(c) for lack of subject

matter jurisdiction. See Singer v. State Farm Mut. Auto. Ins. Co., 116 F.3d 373, 376-77 (9th

Cir. 1997) (explaining that “where the plaintiff does not claim damages in excess of $[75,000]

and the defendant offers ‘no facts whatsoever’ to show that the amount in controversy exceeds

$[75,000], then the defendant has not borne the burden on removal of proving that the amount

in controversy requirement is satisfied”).




        2
              Of course, even if supported by a factual showing, attorney's fees may be considered
only "[w]hen an underlying statute authorizes an award of attorney's fee." Galt G/S v. JSS
Scandinavia, 142 F.3d 1150, 1156 (9th Cir. 1998).
        3
                 A defendant may seek to count punitive damages as part of the amount in controversy
only if they are recoverable as a matter of law. See, e.g., Surber v. Reliance Nat'l Indemnity Co., 110
F. Supp.2d 1227, 1232 (N.D. Cal. 2000).

ORDER- 3
            Case 1:07-cv-00206-EJL Document 8 Filed 06/06/07 Page 4 of 4




                                           ORDER

         Based on the foregoing, and being fully advised in the premises, IT IS HEREBY

ORDERED that the above-entitled action is remanded to the district court of the Fourth

Judicial District of the State of Idaho, In and For the County of Ada, No. CV OC-0619740;

and the Clerk shall mail a certified copy of this Order to the Clerk of the aforesaid Idaho state

court.



                                            DATED: June 6, 2007




                                            Honorable Edward J. Lodge
                                            U. S. District Judge




ORDER- 4
